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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-0004V
                                     Filed: March 22, 2017
                                         UNPUBLISHED
*********************************
BRIANA GWENELL JONES,                             *
As administrator and legal                        *
Representative of the estate of                   *
LEANELL JONES, deceased,                          *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Elizabeth M. Muldowney, Rawls, McNelis & Mitchell, P.C., Richmond, VA, for petitioner.
Heather Lynn Pearlman, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

         On January 5, 2015, Leanell Jones (“Mr. Jones”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). The petition alleged that as a result of receiving an influenza
(“flu”) vaccine on October 28, 2012, Mr. Jones suffered neuropathic pain and weakness
in his left shoulder and arm. Petition at 1; Stipulation, filed July 25, 2016, at ¶ 4. During
the pendency of the claim, Mr. Jones passed away and Briana Gwenell Jones
(“petitioner”) was appointed administrator and legal representative of Mr. Jones’s estate,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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and substituted as petitioner therein. On July 25, 2016, the undersigned issued a
decision awarding compensation to petitioner based on the parties’ joint stipulation.
(ECF No. 43).

       On January 12, 2017, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 48). Petitioner requests attorneys’ fees in the amount of $29,328.00, and
attorneys’ costs in the amount of $812.60, for a total amount of $30,140.60. Id. at 11.
In compliance with General Order #9, petitioner filed a signed statement indicating that
she incurred $835.48 in out-of-pocket expenses. Id. at Ex. 20.

        On January 17, 2017, respondent filed a response to petitioner’s motion. (ECF
No. 50). Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent, however, further that he is
“satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2. Respondent further states that the “Federal Circuit has also made
clear that special masters may rely on their prior experience in making reasonable fee
determinations, without conducting a line-by-line analysis of the fee bill, and are not
required to rely on specific objections raised by respondent. Id. at 2. Thus, respondent
“respectfully recommends that the Chief Special Master exercise her discretion and
determine a reasonable award for attorneys’ fees and costs in this case.” Id. at 3.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates in this particular
case.

                Accordingly, the undersigned awards the total of $30,976.083 as
follows:

                A lump sum of $30,140.60, representing reimbursement for
                 attorneys’ fees and costs, in the form of a check payable jointly to
                 petitioner and petitioner’s counsel, Rawls McNelis, P.C.; and

                A lump sum of $835.48, representing reimbursement for petitioner’s
                 costs, in the form of a check payable to petitioner.




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

                                                    2
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        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.


                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     3
